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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

JOSHWA PEREZ,

 Plaintiff,
                                     CASE NO.: 6:22-cv-2168-CEM-DCI
Vs.

EQUIFAX INFORMATION SERVICES
LLC and HEALTHCARE REVENUE RECOVERY
GROUP, LLC D/B/A ARS ACCOUNT
RESOLUTIONS SERVICES,

 Defendants.
_____________________________/

JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE AS TO
  HEALTHCARE REVENUE RECOVERY GROUP, LLC D/B/A ARS
            ACCOUNT RESOLUTIONS SERVICES

      COMES     NOW     Plaintiff,   JOSHWA     PEREZ     and   the   Defendant,

HEALTHCARE REVENUE RECOVERY GROUP, LLC d/b/a ARS ACCOUNT

RESOLUTIONS SERVICES, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby

stipulate to dismiss, without prejudice, each claim and count therein asserted by

Plaintiff, against the Defendant, HEALTHCARE REVENUE RECOVERY GROUP,

LLC D/B/A ARS ACCOUNT RESOLUTIONS SERVICES, in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and

expenses.
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      Respectfully submitted this 2nd day of June, 2023.

 /s/ Frank H. Kerney, III___              /s/ Ernest H. Kohlmyer, III
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                                          Attorneys for Defendant,
                                          Healthcare Revenue Recovery
                                          Group, LLC d/b/a ARS Account
                                          Resolution Services


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on this 2nd day of June, 2023, I filed the foregoing

document via the Court’s CM/ECF system which sent electronic notice of such to

all parties of record.

                                          /s/ Frank H. Kerney, III___
                                          Frank H. Kerney, III, Esq.
                                          Florida Bar No. 88672
                                          Attorney for Plaintiff
